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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ZHARVELLIS HOLMES, as Independent                   )
 Administrator of the Estate of                      )
 MARCELLIS STINNETTE, deceased,                      )
                                                     )
                            Plaintiff,               )      Case No. 20 CV 6437
                                                     )
       vs.                                           )      Judge John Z. Lee
                                                     )
 CITY OF WAUKEGAN, OFFICER DANTE                     )
 SALINAS, OFFICER JAMES KEATING,                     )
 and WAUKEGAN POLICE CHIEF WAYNE                     )
 WALLES,                                             )
                                                     )
                            Defendants.              )

                      DEFENDANT OFFICER DANTE SALINAS’
                   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

       NOW COMES, Defendant, OFFICER DANTE SALINAS, by and through one of his

attorneys, Laura L. Scarry of DeANO & SCARRY, LLC and in Answer to Plaintiff’s Amended

Complaint, answers as follows:

                                         JURISDICTION

       1.       This action is brought pursuant to 42 U.S.C. § 1983 to redress the Defendants’

tortious conduct and their deprivation of MARCELLIS STINETTE’s rights secured by the U.S.

Constitution.

ANSWER: This Defendant admits Plaintiff brings this action pursuant to 42 U.S.C. § 1983 but

denies he engaged in tortious conduct and deprived Marcellis Stinette’s of his rights.

       2.       This Court has jurisdiction over Plaintiffs federal claims pursuant to 28 U.S.C.

§ 1331, and supplemental jurisdiction over his state-law claims pursuant to 28 U.S.C. §1367.

ANSWER: This Defendant admits the allegations contained in Paragraph 2.



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       3.      Venue is proper under 28 U.S.C. §1391(b). MARTELLIS STINNETTE

resided in this judicial district, the defendants reside in this judicial district, and the events

and omissions giving rise to plaintiff’s claims occurred within this judicial district.

ANSWER: This Defendant admits the allegations contained in Paragraph 3.

                                             PARTIES

       4.      Plaintiff, ZHARVELLIS HOLMES, has been appointed as Independent

Administrator of the Estate of MARCELLIS STINNETTE, by Nineteenth Judicial Circuit Court

of Lake County, Illinois.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 4 and therefore denies said allegations.

       5.      Decedent, MARCELLIS STINNETTE, son of Plaintiff, ZHARVELLIS

HOLMES, was a resident of the County of Lake, State of Illinois and of the United States at the

time of his death.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 5 and therefore denies said allegations.

       6.      Defendant, CITY OF WAUKEGAN, is an Illinois municipal corporation that is or

was the employer of the police officers DANTE SALINAS AND JAMES KEATING, named as

Defendant herein. At all relevant times, the aforementioned officers acted as the agents of CITY

OF WAUKEGAN. Furthermore, Defendant, CITY OF WAUKEGAN, is a necessary party and is

ultimately responsible for judgment.

ANSWER:        This Defendant admits the allegations contained in Paragraph 6 as they pertain to

him. This Defendant does not answer the remaining allegations that pertain to Defendants

JAMES KEATING and the CITY OF WAUKEGAN.



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       7.      At all relevant times, Defendant, OFFICER DANTE SALINAS, was an

employee and/or duly authorized agent of the CITY OF WAUKEGAN and was acting in the

course and scope of his employment.

ANSWER:        This Defendant admits the allegations contained in Paragraph 7.

       8.      At all relevant times, Defendant, OFFICER DANTE SALINAS, was acting under

the color of state law, ordinance and/or regulation, statutes, and/or custom and usages of the

CITY OF WAUKEGAN.

ANSWER:        This Defendant admits the allegations contained in Paragraph 8.

       9.      Defendant, OFFICER DANTE SALINAS, is being sued in both his individual

and official capacity.

ANSWER:        This Defendant admits the allegations contained in Paragraph 9.

       10.     At all relevant times, Defendant, OFFICER JAMES KEATING, was an

employee and/or duly authorized agent of the CITY OF WAUKEGAN and was acting in the

course and scope of his employment.

ANSWER:        This Defendant does not answer the allegations in Paragraph 10 as they pertain to

Defendants JAMES KEATING and the CITY OF WAUKEGAN.

       11.     At all relevant times, Defendant, OFFICER JAMES KEATING, was acting

under the color of state law, ordinance and/or regulation, statutes, and/or custom and usages

of the CITY OF WAUKEGAN.

ANSWER:        This Defendant does not answer the allegations in Paragraph 11 as they pertain to

Defendants JAMES KEATING and the CITY OF WAUKEGAN.

       12.     Defendant, OFFICER JAMES KEATING, is being sued in both his individual

and official capacity.


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ANSWER:          This Defendant does not answer the allegations in Paragraph 12 as they pertain to

Defendant JAMES KEATING.

           13.   Defendant, WAUKEGAN POLICE CHIEF WAYNE WALLES, was at all times

relevant hereto employed by and acting on behalf of CITY OF WAUKEGAN, a the Chief of

Police.

ANSWER:          This Defendant admits the allegations contained in Paragraph 13.

                                  GENERAL ALLEGATIONS

           14.   On or about October 20, 2020, Decedent, MARCELLIS STINNETTE, was the

passenger in a vehicle parked on Liberty Street, in the City of Waukegan, County of Lake, State

of Illinois.

ANSWER:          This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 14 and therefore denies said allegations.

           15.   On or about October 20, 2020, the vehicle that Decedent was a passenger in was

being operated by, TAFARA WILLIAMS.

ANSWER:          This Defendant admits the allegations contained in Paragraph 15.

           16.   The car was parked, not moving, outside of the home of TAFARA WILLIAMS.

ANSWER:          This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 16 and therefore denies said allegations.

           17.   The lights were on in the vehicle and the hands of both occupants were clearly

visible.

ANSWER:          This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 17 and therefore denies said allegations.




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       18.     There were no weapons in the vehicle.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 18 and therefore denies said allegations.

       19.     On the aforementioned date and time, Waukegan police officer, Defendant,

OFFICER JAMES KEATING, stopped his vehicle, got out, and began to question, driver,

TAFARA WILLIAMS and Decedent, MARCELLIS STINNETTE.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 19 and therefore denies said allegations.

       20.     At said time, Defendant, OFFICER KEATING, did not have reasonable

suspicion or probably cause to detain driver, TAFARA WILLIAMS, or passenger,

MARCELLIS STINNETTE.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 20 and therefore denies said allegations.

       21.     Defendant, OFFICER KEATING, approached their vehicle and demanded

their names providing no reason for his stop and/or interaction with them.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 21 and therefore denies said allegations.

       22.     As Defendant, OFFICER KEATING, is first exiting his car he states, “Aren’t you

the dude that got in the accident? You got in an accident, right? What’s yo name? Huh?”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 22 and therefore denies said allegations.

       23.     The body camera footage of Defendant, OFFICER KEATING, shows

OFFICER KEATING saying, “you’re one of the Stinnette kids, right?”


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ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 23 and therefore denies said allegations.

       24.     Defendant, OFFICER KEATING, then says, “You’re Marcellis right? Yeah,

You’re under arrest man.”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 24 and therefore denies said allegations.

       25.     Driver, TAFARA WILLIAMS, replies, “Why?”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 25 and therefore denies said allegations.

       26.     Defendant, OFFFICER KEATING, replies, “Because I said so.”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 26 and therefore denies said allegations.

       27.     The body camera footage of Defendant, OFFICER KEATING, shows Decedent,

MARCELLIS STINNETTE, asking the officer, “For What?”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 27 and therefore denies said allegations.

       28.     Defendant, OFFICER KEATING, responds, “show me your hands pal. C’mon, I

‘aint playin’ with you cause I know you. Marcellis you’re under arrest.”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 28 and therefore denies said allegations.

       29.     Defendant, OFFICER KEATING, used physical force to direct and detain

MARCELLIS STINETTE by placing his hands on the door frame and/or pillar of the vehicle

while shining a light I the vehicle on MARCELLIS STINNETTE and demanding that


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MARCELLIS STINETTE “show me your hands pal. C’mon, I ain’t playin’ with yo cause I

know you. Marcellis you’re under arrest.”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 29 and therefore denies said allegations.

       30.     Defendant, OFFICER KEAING, used physical force to restrict MARCELLIS

STINNETTE from freely moving by walking in front of the vehicle, moving around to

MARCELLIS STINNETTE’s side of the vehicle, the front right passenger-side, and placing his

hands on the door frame and/or pillar of the vehicle while shining a light in the vehicle on

MARCELLIS STINNETTE and demanding that MARCELLIS STINETTE “show me your

hands pal. C’mon, I ain’t playin’ with you cause I know you. Marcellis you’re under arrest.”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 30 and therefore denies said allegations.

       31.     In response to Defendant, OFFICER KEATING’s oral demands MARCELLIS

displayed his hands, made no quick movements, and was preparing to exit the vehicle,

complying and submitting to Defendant, OFFICER KEATING’s assertions of authority.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 31 and therefore denies said allegations.

       32.     In response to Defendant, OFFICER KEATING’s use of physical force to detain

MARCELLIS STINETTE and stop him from freely moving, MARCELLIS STINETTE

complied submitting himself to the authority of OFFICER KEATING’s assertion of authority.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 32 and therefore denies said allegations.




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        33.     Decedent, MARCELLIS STINNETTE’s hands were visible to Defendant

OFFICER KEATING at all times during this exchange.

ANSWER:         This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 33 and therefore denies said allegations.

        34.     At no point does Defendant OFFICER KEATING indicate that Decedent,

MARCELLIS STINNETTE, failed to operate, follow his demand, or otherwise not submit to his

authority.

ANSWER:         This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 34 and therefore denies said allegations.

        35.     The Decedent, MARCELLIS STINNETTE, had previously been in an automobile

accident in August of 2020 and was physically limited in his ability to move and/or walk as a

result of his injuries from that accident.

ANSWER:         This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 35 and therefore denies said allegations.

        36.     Defendant, OFFICER KEATING, was aware of the prior accident as, during the

exchange, he stated to MARCELLIS STINNETT, “Aren’t you the dude that got in an accident?

You got in an accident right?... You’re Marcellis right?”

ANSWER:         This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 36 and therefore denies said allegations.

        37.     Defendant, OFFICER KEATING, knew or should have known of MARCELLIS

STINNETTE’s physical injuries and limitations.

ANSWER:         This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 37 and therefore denies said allegations.



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       38.     The driver of the vehicle, TAFARA WILLIAMS, without notice to Decedent,

MARCELLIS STINNETTE, or Defendant, OFFICER KEATING, pulled away from the curb

and flees the location where she was parked.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 38 and therefore denies said allegations.

       39.     At this time, Defendant, OFFICER KEATING, falsely reports to dispatch, “Hey,

they just ran me over.”

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 39 and therefore denies said allegations.

       40.     Defendant, OFFRICER KEATING’s reports the name of the driver, TAFARA

WILLIAMS and the passenger, MARCELLIS STINNETTE to dispatch to alert other officers so

other officers, including, OFFICER SALINAS could act together with him in concert to effect

the false arrest he began.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 40 and therefore denies said allegations.

       41.     Driver, TAFARA WILLIAMS’ vehicle drove away from, and not toward,

Defendant, OFFICER KEATING.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 41 and therefore denies said allegations.

       42.     Defendant OFFICER SALINAS, in response to and in conjunction with

OFFICER KEATING pursued TAFARA WILLIAMS’ vehicle.

ANSWER:        This Defendant denies the allegations contained in Paragraph 42.




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       43.     Driver, TAFARA WILLIAMS, ultimately attempted to turn right from Martin

Luther King Jr. Avenue to travel west on Helmholz Avenue when her vehicle left the roadway

and struck and electric pole.

ANSWER:        This Defendant admits that the vehicle in which Tafara Williams was driving left

the roadway and struck a utility pole at Martin Luther King Jr. Avenue and Helmholz Avenue,

but lacks sufficient information to admit or deny the remaining allegations contained in

Paragraph 43 and therefore denies said allegations.

       44.     At that time, Defendant, OFFICER SALINAS, who was in active pursuit of

driver, TAFARA WILLIAMS’ vehicle, left his vehicle with his weapon drawn.

ANSWER:        This Defendant admits that after he exited his vehicle he drew his weapon but

denies the remaining allegations of this Paragraph 44.

       45.     Defendant, OFFICER SALINAS, failed to turn on his body camera before

drawing his weapon.

ANSWER:        This Defendant admits that he did not activate his body camera before drawing

his weapon. This Defendant denies the remaining allegations of Paragraph 45.

       46.     The driver of the vehicle, TAFARA WILLIAMS began to back her vehicle up

from utility pole support wiring which she had collided with on the grass, sidewalk and parkway.

ANSWER:        This Defendant admits the allegations contained in Paragraph 46.

       47.     At no time was driver, TAFARA WILLIAMS, driving in the direction of

Defendant, OFFICER SALINAS.

ANSWER:        This Defendant denies the allegations contained in Paragraph 47.




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       48.     Defendant, OFFICER SALINAS, despite being in no immediate danger,

discharged his firearm into the vehicle driven by TAFARA WILLIAMS, in which MARCELLIS

STINNETTE was a passenger.

ANSWER:        This Defendant admits to discharging his firearm toward the driver of the vehicle

in which Marcellis Stinnette was a passenger, but denies the remaining allegations of Paragraph

48.

       49.     Defendant, OFFICER SALINAS, discharged his firearm five times into the front

and driver’s side of driver, TAFARA WILLIAMS’ vehicle.

ANSWER:        This Defendant admits to discharging his firearm toward the driver of the vehicle.

This Defendant lacks sufficient information to admit or deny the remaining allegations contained

in Paragraph 49 and therefore denies said allegations.

       50.     Decedent, MARCELLIS STINNETTE was shot by Defendant, OFFIC3ER

SALINAS.

ANSWER:        This Defendant admits the allegations contained in Paragraph 50.

       51.     At no point did Driver, TAFARA WILLIAMS’ vehicle strike any police vehicles

or persons, but did strike a small building on the corner of Martin Luther King Jr. Avenue and

Helmholz Avenue.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 51 and therefore denies said allegations.

       52.     At the time of this incident, and at all times relevant, neither Defendant,

OFFICER SALINAS, or Defendant OFFICER KEATING had any information that any violent

crime had been committed and/or that they or any other individuals were in danger of death or

serious bodily harm.



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ANSWER:        This Defendant denies the allegations contained in Paragraph 52.

       53.     At the time of this incident, and at all relevant times, the actions of Defendant

police officers were undertaken without any information that WILLIAMS and /or STINNETTE

had committed any violent crime on October 20, 2020.

ANSWER:        This Defendant denies the allegations contained in Paragraph 53.

       54.     Driver, TAFARA WILLIAMS, repeatedly informed Defendant Officers that there

were no weapons in the vehicle.

ANSWER:        This Defendant denies the allegations directed at him, but lacks sufficient

information to admit or deny the remaining allegations contained in Paragraph 54 and therefore

denies said allegations.

       55.     As driver, TAFARA WILLIAMS, cried for help and indicated that she and

MARCELLIS STINNETTE, had been shot, officers did not respond with aid.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 55 and therefore denies said allegations.

       56.     Defendant, OFFICER SALINAS, turned on his body camera at this point and

yelled, “I was right behind you and you almost tried to run me over.”

ANSWER:        This Defendant admits that his body camera captured his statement to that effect,

but This Defendant lacks sufficient information to admit or deny the remaining allegations

contained in Paragraph 56 and therefore denies said allegations.

       57.     The dash camera video footage does not support Defendant, OFFICER

SALINAS’ statement.

ANSWER:        This Defendant denies the allegations contained in Paragraph 57.




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        58.    Driver, TAFARA WILLIAMS, continued to scream, “He got shot, he got shot, he

needs help,” speaking of passenger, MARCELLIS STINNETTE.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 58 and therefore denies said allegations.

        59.    Officers did not render any aid at this time to Decedent, MARCELLIS

STINNETTE.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 59 and therefore denies said allegations.

        60.    Eventually, Decedent, MARCELLIS STINNETTE3, was pulled from the vehicle

and laid on the ground.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 60 and therefore denies said allegations.

        61.    Decedent, MARCELLIS STINNETTE, waited on scene for an ambulance, and

did not receive medical assistance for over eight minutes, while he bled out on the ground.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 61 and therefore denies said allegations.

        62.    As the time of this incident, and at all times relevant, the actions of Defendant

police officers had no reason to believe that TAFARA WILLIAMS or MARCELLIS

STINNETTE had committed any violent crime or were a threat to any persons, including said

officers.

ANSWER:        This Defendant denies the allegations contained in Paragraph 62.

        63.    At no time did Decedent, MARCELLIS STINNETTE, ever display a weapon to

Defendant, OFFICER SALINAS, OFFICER KEATING, or any others.



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ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 63 and therefore denies said allegations.

       64.     At no time did Decedent, MARCELLIS STINNETTE, ever threaten to use

physical force upon Defendant, OFFICER SALINAS, OFFICER KEATING, or any others.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 64 and therefore denies said allegations.

       65.     At no time did Decedent, MARCELLIS STINNETTE, ever use physical force

upon Defendant, OFFICER SALINAS, OFFRICER KEATING, or any others.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 65 and therefore denies said allegations.

       66.     At no time did Decedent, MARCELLIS STINNETTE, ever take any affirmative

action to indicate that he was a danger to Defendant, OFFICER SALINAS, OFFICER

KEATING, or any others.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 66 and therefore denies said allegations.

       67.     Defendant, Police Officers did not have reason to believe that Decedent,

MARCELLIS STINNETTE, posed a significant threat of death or serious physical injuries to

Defendant Police Officers or others.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 67 and therefore denies said allegations.

       68. No weapons were found in the vehicle.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 68 and therefore denies said allegations.



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       69.     Deadly force was not necessary or justified.

ANSWER:        This Defendant denies the allegations contained in Paragraph 69.

       70. According to Defendant, WAUKEGAN POLICE CHIEF, WAYNE WALLES,

Defendant, OFFICER SALINAS, committed multiple policy and procedure violations and has

been terminated.

ANSWER:        This Defendant admits the allegations contained in Paragraph 70.

       71.     MARCELLIS STINNETTE died from his injuries.

ANSWER:        This Defendant admits Marcellis Stinnette died, but lacks sufficient information

to admit or deny the remaining allegations contained in Paragraph 71 and therefore denies said

allegations.

                                           COUNT I
                   42 U.S.C. § 1983 - Excessive Force v. OFFICER SALINAS

       72.     Plaintiff realleges and incorporates paragraphs 1-64 herein as paragraph 65.

ANSWER:        This Defendant reasserts and incorporates his answers to paragraphs 1-64 herein

as paragraph 65.

       73.     On or about October 20, 2020, defendant, OFFICER SALINAS’ actions, namely

shooting unarmed MARCELLIS STINNETTE with his weapon in MARCELLIS STINNETTE’s

body, while acting under the color of law, amounted to unnecessary and excessive force to the

person of MARCELLIS STINNETTE when there were no reasonable grounds to do so.

ANSWER:        This Defendant denies the allegations contained in Paragraph 73.

       74.     On or about October 20, 2020, none of MARCELLIS STINNETTE’s actions

justified this use of unnecessary and excessive force by defendant, OFFICER SALINAS.

ANSWER:        This Defendant denies the allegations contained in Paragraph 74.




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       75.     Defendant, OFFICER SALINAS’ actions were malicious, willful and wanton,

and constituted a reckless and deliberate indifference to MARCELLIS STINNETTE’s

constitutionally protected rights, while acting under the color of law.

ANSWER:        This Defendant denies the allegations contained in Paragraph 75.

       76.     As a direct and proximate result of the aforementioned actions and/or omission

of defendant, OFFICER SALINAS, MARCELLIS STINNETTE, was deprived of the rights,

privileges, and immunities guaranteed by the Fourth Amendment and/or Fourteenth Amendment

of the United States Constitution, namely he was subjected to an unreasonable use of force.

ANSWER:        This Defendant denies the allegations contained in Paragraph 76.

       77.     In addition, as a direct and proximate result of the aforementioned actions and/or

omission of defendant, OFFICER SALINAS, MARCELLIS STINNETTE suffered

substantial pain and suffering and lost his life.

ANSWER:        This Defendant denies the allegations contained in Paragraph 77.

       WHEREFORE, Defendant OFFICER SALINAS denies that plaintiff, ZHARVELLIS

HOLMES, as Independent Administrator of the Estate of MARCELLIS STINNETTE, is entitled

to the relief sought or any relief, whatsoever.

                                        COUNT II
         Wrongful Death Pursuant to Illinois ’ Wrongful Death Act (740 ILCS 180) v.
                                 OFFICER SALINAS

       72.     Plaintiff realleges and incorporates paragraphs 1-64 herein as paragraph 71.

ANSWER:        This Defendant reasserts and incorporates his answers to paragraphs 1-64

herein as paragraph 71.

       73.     That due to OFFICER SALINAS’ aforementioned actions, MARCELLIS

STINNETTE, deceased, sustained severe bodily injuries which ultimately caused his death.


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ANSWER:        This Defendant denies the allegations contained in Paragraph 73.

       74.     That at all relevant times, MARCELLIS STINNETTE, exercised due care for his

own safety.

ANSWER:        This Defendant denies the allegations contained in Paragraph 74.

       75.     At all relevant times, the defendant, OFFICER SALINAS’ owed a duty to

MARCELLIS STINNETTE, to refrain from willful and wanton acts or omissions which could

cause suffering and/or death to MARCELLIS STINNETTE.

ANSWER:        This Defendant denies the allegations contained in Paragraph 75.

       76.     As detailed above, the defendant, OFFICER SALINAS, breached his duty by

willfully and wantonly restraining and shooting MARCELLIS STINNETTE, although he was

unarmed, causing him great pain and suffering and causing his death.

ANSWER:        This Defendant denies the allegations contained in Paragraph 76.

       77.     As a direct and proximate result of one or more of the foregoing willful and

wanton acts and/or omissions of OFFICER SALINAS, MARCELL1S STINNETTE died on

October 20, 2020.

ANSWER:        This Defendant denies the allegations contained in Paragraph 77.

       78.     MARCELLIS STINNETTE left surviving him his heirs at law and next of kin,

who by reason of his death did sustain grief, sorrow, and pecuniary losses including but not

limited to comfort, protection, support, services, loss of society, and relationship.

ANSWER:        This Defendant lacks sufficient information to admit or deny the allegations

contained in Paragraph 78 and therefore denies said allegations.




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       79.     That plaintiff, ZHARVELLIS HOLMES, as Independent Administrator of the

Estate of MARCELLIS STINNETTE, deceased, brings this action pursuant to the Wrongful

Death Act, 740 ILCS 180/2 and 180/2.1.

ANSWER:        This Defendant admits the allegations contained in Paragraph 79.

       WHEREFORE, Defendant OFFICER SALINAS denies that plaintiff, ZHARVELLIS

HOLMES, as Independent Administrator of the Estate of MARCELLIS STINNETTE, is entitled

to the relief sought or any relief, whatsoever.

                                        COUNT III
                                     ’
 Survival Action Pursuant to Illinois Survival Act (755 ILCS 5/27) v. OFFICER SALINAS

       72.     Plaintiff realleges and incorporates paragraphs 1-64 herein as paragraph 79.

ANSWER:        This Defendant reasserts and incorporates his answers to paragraphs 1-64 herein

as paragraph 79.

       73.     That due to OFFICER SALINAS’ actions, MARCELLIS STINNETTE, deceased,

suffered severe bodily injuries, which ultimately caused his death.

ANSWER:        This Defendant denies the allegations contained in Paragraph 73.

       74.     That at all relevant times, MARCELLIS STINNETTE, deceased, exercised due

care for his own safety.

ANSWER:        This Defendant denies the allegations contained in Paragraph 74.

       75.     At all relevant times, OFFICER SALINAS, owed MARCELLIS STINNETTE,

deceased, a duty to refrain from willful and wanton acts or omissions which could cause

suffering or death to MARCELLIS STINNETTE.

ANSWER:        This Defendant denies the allegations contained in Paragraph 75.




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       76.     As outlined above, OFFICER SALINAS, breached his duty by willfully and

wantonly shooting MARCELLIS STINNETTE, although he was unarmed, causing him great

pain and suffering, and causing his death.

ANSWER:        This Defendant denies the allegations contained in Paragraph 76.

       77.     As a direct and proximate result of one or more of the foregoing willful and

wanton acts and/or omissions of OFFICER SALINAS, MARCELLIS STINNETTE suffered

injuries of personal and pecuniary nature, including pain and suffering, disability and

disfigurement, and ultimately death.

ANSWER:        This Defendant denies the allegations contained in Paragraph 77.

       78.     That plaintiff, ZHARVELLIS HOLMES, as Independent Administrator of the

Estate of MARCELLIS STINNETTE, deceased, brings this action pursuant to the Survival Act,

755 ILCS 5/27-6.

ANSWER:        This Defendant admits the allegations contained in Paragraph 78.

       WHEREFORE, Defendant OFFICER SALINAS denies that plaintiff, ZHARVELLIS

HOLMES, as Independent Administrator of the Estate of MARCELLIS STINNETTE, is entitled

to the relief sought or any relief, whatsoever.

                                        COUNT IV
             Monell Claim-Violation of 42 U.S.C §1983 v. CITY OF WAUKEGAN
                        and CHIEF OF POLICE WAYNE WALLES

       This Defendant makes no response the allegations contained in Count IV as they are not

directed at him.




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                                         COUNT V
   Violation of 42. U.S.C. §1983 - Negligent Hiring Training and Supervision v. CITY OF
                 WAUKEGAN and CHIEF OF POLICE WAYNE WALLES

       This Defendant makes no response the allegations contained in Count V as they are not

directed at him.

                                           COUNT VI
                              False Arrest v. OFFICER KEATING

       This Defendant makes no response the allegations contained in Count VI as they are not

directed at him.

                                       COUNT VII
             745CS 10/9-102 - Indemnification Claim v. CITY OF WAUKEGAN

       This Defendant makes no response the allegations contained in Count VII as they are

not directed at him.

                          DEFENDANTS DEMAND TRIAL BY JURY

                                  AFFIRMATIVE DEFENSES

       NOW COMES the Defendant, OFFICER DANTE SALINAS, and pleading

affirmatively, asserts the following affirmative defenses:

                         First Affirmative Defense – Qualified Immunity

        1.         That Plaintiff, ZHARVELLIS HOLMES, has pled in her Amended

 Complaint that on October 20, 2020, Defendant OFFICER SALINAS used excessive and

 unjustifiable force against the decedent, MARCELLIS STINNETTE in violation of the

 Fourth and/or Fourteenth Amendment to the United States Constitution.

        2.         That Defendant OFFICER SALINAS answered Plaintiff’s Amended

 Complaint denying that he is legally liable to Plaintiff.




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        3.      That in so far as the claims against Defendant OFFICER SALINAS in Count I

of the Plaintiff’s Amended Complaint are brought against him in his individual capacity, he is

entitled to qualified immunity for the reason that a reasonable police officer possessed of the

information known to him at the time of this occurrence would have believed that legal

justification existed for the use of lethal force in this instance; that he did not intend to use

lethal force against the decedent; and that his actions relating to the decedent did not shock the

conscience; therefore, Defendant OFFICER SALINAS did not violate any clearly established

right under existing law.

                     Second Affirmative Defense – Illinois Tort Immunity
                     Act

        4.      As to Counts II and III, Defendant OFFICER SALINAS asserts the immunities

set forth in 745 ILCS 10/1-101 et seq., a law commonly known as Local Governmental and

Governmental Employees Tort Immunity Act (745 ILCS 10/1-101 et seq.) which provides, in

pertinent part, as follows:

                a.      In investigating and assessing information gather during the course of

        the events set forth in Plaintiff’s Amended Complaint and making decisions and

        taking actions based on the assessment of such information, Defendant OFFICER

        SALINAS exercised discretion in the determination of policy and execution of the

        law and is therefore immune from liability for claims resulting from such

        discretionary acts. 745 ILCS 10/2-201.

        b.      Defendant OFFICER SALINAS’s actions and/or omissions in the execution or

        enforcement of the law during the course of the events set forth in Plaintiff’s

        Amended Complaint were not willful and wanton and, as such, Defendant OFFICER

        SALINAS is immune from liability. 745 ILCS 10/2-202.

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        c.      Except as otherwise provide by statute, Defendant OFFICER SALINAS as a

        public employee and acting within the scope of his employment is not liable for an

        injury caused by the act or omission of another person. 745 ILCS 10/2-204.

        d.      As to any claims, injuries and/or damages arising from the alleged failure of

        Defendant OFFICER SALINAS to provide police protection or services and/or

        failure to provide adequate police protection or services, Defendant OFFICER

        SALINAS is immune from liability. 745 ILCS 10/4-102.

                    Third Affirmative Defense – Self-Defense and of Others

 5.     That as to Counts II-III, Defendant OFFICER SALINAS asserts that he was legally

 justified in using lethal force in self-defense and in the defense of other law enforcement

 officers and innocent bystanders. 720 ILCS 5/7-5.

       WHEREFORE, Defendant OFFICER DANTE SALINAS prays that this Honorable

Court enter judgment in his favor and against Plaintiff in Counts I-III of Plaintiff’s Amended

Complaint.

                                              Respectfully Submitted,


                                              s/Laura L. Scarry
                                              One of the Attorneys for Defendant,
                                              Officer Dante Salinas

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